09-01198-mew        Doc 665 Filed 06/06/14 Entered 06/07/14 00:25:51               Imaged
                           Certificate of Notice Pg 1 of 4


                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF NEW YORK
                                  One Bowling Green
                               New York, NY 10004í1408
_____________________________________________________________________________________
In re: Tronox Incorporated                             Bankruptcy Case No.: 09í10156íalg

Tronox Incorporated
Tronox Worldwide LLC
Tronox LLC
fka KerríMcGee Chemical Worldwide LLC
fka KerríMcGee Chemical LLC
The United States Of America
The Anadarko Litigation Trust
                                   Plaintiff(s),
 íagainstí                                                Adversary Proceeding No. 09í01198íalg

Anadarko Petroleum Corporation
KerríMcGee Corporation
Tronox, Inc.
Tronox Worldwide LLC
Tronox LLC
KerríMcGee Corporation
Anadarko Petroleum Corporation
KerríMcGee Stored Power Company LLC
KerríMcGee Shared Services Company LLC
KerríMcGee Credit LLC
KerríMcGee Investment Corporation
KerríMcGee Oil & Gas Corporation
KerríMcGee Worldwide Corporation
                                   Defendant(s)
_____________________________________________________________________________________


        AMENDED NOTICE OF PROPOSED FINDINGS AND CONCLUSIONS


        PLEASE TAKE NOTICE that on May 30, 2014, Notice of Proposed Findings and
Conclusions was sent to interested parties. Among other things, the Notice quoted Bankruptcy
Rule 9033(b) and informed parties that the Rule provided 14-days after being served with a copy
of the document to serve and file with the clerk written objections which identify the specific
proposed findings or conclusions objected to and to state the grounds for such objection.

       Please be advised that the Proposed Findings and Conclusions extended that period by
including the following paragraph:

       Bankruptcy Rule 9033 sets forth the procedure to follow with respect to a Report
       and Recommendation. Under Bankruptcy Rule 9033, parties ordinarily have 14
       days after service of the Report and Recommendation to “serve and file with the
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       clerk written objections which identify the specific proposed findings or
       conclusions objected to and state the grounds for such objection.” Under Rule
       9033(c), the Court can extend the period for up to an additional 21 days. On May
       30, 2014, Defendants’ counsel filed a letter on the docket [Bankr. Dkt. No. 3001 ;
       Adv. Dkt. No. 660], requesting that the Court extend the objection deadline to
       allow parties additional time given the significance of the Settlement and
       widespread interest in the case. The letter requests a total of 38 days, including
       three for mailing. The letter represents that the Litigation Trust and the United
       States have no objection. The Court grants the request, thereby providing that
       parties may have a total of 38 days after the date hereof to serve and file with the
       clerk written objections which identify the specific proposed findings or
       conclusions objected to and state the grounds for such objection.


        Pursuant to this order, entered by the Court, the period to object to the Proposed
Findings and Conclusions had been extended and parties have until July 7, 2014 to serve
and file with the clerk written objections which identify the specific proposed findings or
conclusions objected to and state the grounds for such objection.

       The notice, dated May 30, 2014, contains other information relating to the filing
of objections that has not changed.


Dated: June 4, 2014                                                 Vito Genna
                                                                    Clerk of Court
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                                               United States Bankruptcy Court
                                               Southern District of New York
Tronox Incorporated,
         Plaintiff                                                                                Adv. Proc. No. 09-01198-alg
Anadarko Petroleum Corporation,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0208-1                  User: arouzeau                     Page 1 of 2                          Date Rcvd: Jun 04, 2014
                                      Form ID: pdf001                    Total Noticed: 6


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 06, 2014.
aty           +Wilbur O. Colom,    The Colom Law Firm, LLC,    200 6th Street North, Suite 700,
                Columbus, OH 39701-4561
unk           +Columbus, Mississippi Creosote Claimants,     Anita Gregory and,
                Columbus, Mississippi Creosote Claimants,     918 Osceola Street,   Jacksonville, FL 32204-3606
unk           +Maranatha Faith Center, Inc.,    Hal H.H. McClanahan III, Esq.,    518 Second Avenue North,
                Columbus, MS 39701-4512
unk           +Potential Claimants,    Wilbur O. Colom, Esq.,    The Colom Law Firm, LLC,
                200 6th Street North, Suite 700,    Columbus, MS 39701-4561
unk           +The AIG Parties,    Michael S. Davis, Esq.,    Zeichner Ellman & Krause LLP,
                1211 Avenue of the Americas,    New York, NY 10036-8705
unk            Thomas Earl Wright,    283 S.E. 283rd Avenue,    Camas, WA 98607-7205

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 06, 2014                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 4, 2014 at the address(es) listed below:
              Alan E. Marder    on behalf of Unknown    UBS A.G. lgomez@msek.com
              Bethany Palmer Recht    on behalf of Interested Party    Trustee of the Tronox Incorporated Tort
               Claims Trust brecht@kmklaw.com
              David J. Mark   on behalf of Unknown     Cimarron Corporation dmark@kasowitz.com,
               courtnotices@kasowitz.com
              David J. Zott   on behalf of Plaintiff     The Anadarko Litigation Trust david.zott@kirkland.com
              David M. Stern    on behalf of Defendant    Anadarko Petroleum Corporation dstern@ktbslaw.com
              Dawn M. Cica   on behalf of Interested Party     NEVADA DIVISION OF ENVIRONMENTAL PROTECTION
               dcica@foxrothschild.com
              Duke K. McCall, III    on behalf of Defendant    Anadarko Petroleum Corporation
               duke.mccall@bingham.com,
               thomas.lotterman@bingham.com;stephen.scotch-marmo@bingham.com;lisa.plegge@bingham.com
              Francis J. Earley    on behalf of Unknown    Apollo Global Management, L.P. fearley@mintz.com,
               rcorona@mintz.com;Docketing@mintz.com
              Hal H. H. McClanahan, III    on behalf of Unknown    Maranatha Faith Center, Inc.
               threehlaw@bellsouth.net, cdr.3hlaw@gmail.com
              Holland N. O’Neil    on behalf of Unknown    The AIG Parties honeil@gardere.com
              Janice Beth Grubin    on behalf of Unknown    ENVIRON International Corporation
               jgrubin@scsnylaw.com, snobles@scsnylaw.com
              Jason V. Stitt    on behalf of Interested Party    Trustee of the Tronox Incorporated Tort Claims
               Trust jstitt@kmklaw.com
              Jeffrey J. Zeiger    on behalf of Plaintiff    The Anadarko Litigation Trust
               jeffrey.zeiger@kirkland.com, sandra.gentile@kirkland.com;seth.gastwirth@kirkland.com
              Jonathan S. Henes    on behalf of Plaintiff    Tronox Incorporated jhenes@kirkland.com,
               jgoldfinger@kirkland.com;patrick.nash@kirkland.com
              Joseph Pantoja     on behalf of Intervenor-Plaintiff    The United States Of America
               joseph.pantoja@usdoj.gov
              Karen Dine,    on behalf of Unknown    Official Committee of Equity Holders of Tronox, Inc.
               karen.dine@kattenlaw.com
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                              Form ID: pdf001              Total Noticed: 6


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Lydia Protopapas     on behalf of Defendant    Anadarko Petroleum Corporation
               lprotopapas@winston.com,
               bwinfree@winston.com;jbilleck@winston.com;czumbach@winston.com;lfowler@winston.com;colsen@winston
               .com
              Matthew L. Schwartz    on behalf of Unknown    The United States Of America
               matthew.schwartz@usdoj.gov
              Maureen F. Leary    on behalf of Interested Party    State of New York maureen.leary@oag.state.ny.us
              Melanie Gray     on behalf of Defendant    Anadarko Petroleum Corporation mggray@winston.com,
               bwinfree@winston.com;czumbach@winston.com;lfowler@winston.com
              Michael A. Paskin    on behalf of Creditor    Credit Suisse, Cayman Islands Branch
               mpaskin@cravath.com, mao@cravath.com
              Michael S. Davis    on behalf of Unknown    The AIG Parties mdavis@zeklaw.com,
               mmccarthy@zeklaw.com;rguttmann@zeklaw.com;mmillnamow@zeklaw.com
              Robert William Yalen    on behalf of Intervenor-Plaintiff    The United States Of America
               robert.yalen@usdoj.gov
              Sabin Willett     on behalf of Defendant    Anadarko Petroleum Corporation sabin.willett@bingham.com
              Wilbur O Colom    on behalf of Unknown   Colom Law Firm wil@colom.com, kwinter@colom.com
                                                                                              TOTAL: 25
